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             EXHIBIT E
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Honorable Colleen McMahon
United States District Judge
Southern District of New York
                                                                                            August 30, 2022



Dear Judge Colleen McMahon,



My name is Ellisha Leonard and I am Freedom Turner’s sister, the second oldest. I currently live in the
Bronx and was recently promoted at Home Depot. Freedom is an individual who’s very respectable.
Growing up, he was never a sibling who gave me any trouble, and when he lived with me later, he
always assisted with anything I needed. I didn’t ask much of him, because he was very self-sufficient, but
he would help with basic chores around the house, come grocery shopping with me, help me bring
laundry up from the basement, and other things like that.

Freedom grew up with two parents in the household. He went to a decent school and hung out with
people in the neighborhood. Things really took a turn for him when our mom passed away when
Freedom was sixteen. It affected him a great deal. When our mom was diagnosed with cancer, she had
to leave to get better treatment and lived in North Carolina for two years. Freedom felt some
resentment, because he was too young and didn’t understand that she wasn’t getting what she needed
in New York. He felt like she had picked up and left him for no reason.

After she passed, he turned to the streets. He seemed very angry and short-tempered. A lot of
Freedom’s frustration was definitely because of his father. He had cheated on my mom and caused
them to split up, so that put even more of a strain on his relationship with Freedom. I tried to keep
Freedom involved in all the family functions, but Freedom was mostly left to fend for himself. He had to
deal with the loss on his own, which was especially hard at that age because he had no idea how to cope
with that.

When Freedom got out of prison the first time, he stayed with me for nine months. He always knew it
was temporary – he needed an address to put on his parole forms, and then asked if he could stay with
me full time. I didn’t mind because I had the extra space, and we picked up where we had left off. I
thought Freedom was very positive when he got out and was very motivated to find work. He was
always on it, looking for jobs wherever he could. He worked for UPS temporarily and was very excited
about his interview for a permanent position, but didn’t hear back. There were times when he felt like
giving up, but I reminded him that things aren’t always easy and you have to stick it through. He stayed
motivated and worked hard to find something else.

The only reason he moved out of my place was because my daughter came back from college and I
needed the space. I felt bad he couldn’t stay and tried to explain that, but I think Freedom felt like I was
putting him out and got upset about it. He moved in with his cousin, but I feel like after he moved out,
his father wasn’t supportive enough of Freedom. They weren’t on good terms and he could have done
more to get Freedom on the right track.
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Once Freedom comes home, he needs counseling. He hasn’t been able to cope with my mom’s death
and he’s been lashing out in all the negative ways. He also needs a change of environment. His passion is
music and he writes a lot, but I remind him that he still needs to have a regular job so he can take care
of himself and his son. He really liked it at UPS, and I think he is willing to try anything.

Freedom was very excited to have a son and got to go down to Atlanta for the birth. He loves his son
very much. Unfortunately he was incarcerated when his baby was only six months old, so he hasn’t had
time to bond yet. It’s so important for Freedom to be a productive role model and be in his son’s life.
Even though his father is in Freedom’s life, I think Freedom could have an even better relationship with
his son. I don’t want Freedom to be another statistic – I want him to break the cycle of incarceration and
be there for his son as soon as possible.

Thank you for reading my letter, Judge.



Sincerely,



Ellisha Leonard
